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                          Exhibit C
              to Declaration of Robert Frommer




                                                                Exhibit C
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 1   TRACY L. WILKISON
     United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     ANDREW BROWN (Cal. Bar No. 172009)
 4   VICTOR A. RODGERS (Cal. Bar No. 101281)
     MAXWELL COLL (Cal. Bar No. 312651)
 5   Assistant United States Attorneys
     Major Frauds/Asset Forfeiture/
 6   General Crimes Sections
           1100/1400/1200 United States Courthouse
 7         312 North Spring Street
           Los Angeles, California 90012
 8         Telephone: (213) 894-0102/2569/1785
           Facsimile: (213) 894-6269/0142/0141
 9         E-mail: Andrew.Brown@usdoj.gov
                   Victor.Rodgers@usdoj.gov
10                 Maxwell.Coll@usdoj.gov
11   Attorneys for Defendants
     UNITED STATES OF AMERICA, et al.
12
13                             UNITED STATES DISTRICT COURT
14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                    WESTERN DIVISION
16   PAUL SNITKO, JENNIFER SNITKO,                 Case No. 2:21-CV-04405-RGK-MAR
     JOSEPH RUIZ, TYLER GOTHIER,
17   JENI VERDON-PEARSONS,                         DEFENDANTS UNITED STATES OF
     MICHAEL STORC, AND TRAVIS                     AMERICA, ET AL.’S RESPONSES TO
18   MAY,                                          PLAINTIFFS’ SECOND SET OF
                                                   INTERROGATORIES
19               Plaintiffs,
20                      v.
21   UNITED STATES OF AMERICA, ET
     AL.,
22
23               Defendants.
24
25         Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendants United
26   States of America, Tracy L. Wilkison, in her official capacity as Acting United States
27   Attorney for the Central District of California, and Kristi Koons Johnson, in her official
28   capacity as an Assistant Director of the Federal Bureau of Investigation (collectively.
                                                                             Exhibit C
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 1   “Defendants”), by their attorneys, hereby submit their responses to the Plaintiffs’ Second
 2   Set of Interrogatories as set forth below.
 3                                PRELIMINARY STATEMENT
 4          Defendants have not at this time fully completed their discovery and investigation
 5   in this action. All responses contained herein are based solely upon such information
 6   and evidence as are presently available and specifically known to Defendants at this time
 7   and disclose only those factual contentions and legal conclusions which presently occur
 8   to Defendants at this time. Further discovery, investigation, research and analysis is
 9   expected to supply additional facts, add meaning to currently known facts, and establish
10   entirely new factual contentions and legal conclusions, which may lead to substantial
11   additions or changes to the information provided herein. Defendants reserve the right to
12   add or change any and all responses herein as additional facts are ascertained, legal
13   research is completed, and analyses are undertaken. The responses herein are made in a
14   good faith effort to supply as much information as is presently known to Defendants in
15   this action.
16                           RESPONSES TO INTERROGATORIES
17   INTERROGATORY NO. 7:
18          If you contend that the March 2021 search of U.S. Private Vaults was consistent
19   with the Fourth Amendment, state the basis for that contention.
20   RESPONSE TO INTERROGATORY NO. 7:
21          Defendants’ object that this interrogatory (1) calls for a narrative; (2) calls for a
22   legal conclusion; (3) is compound and contains impermissible discrete subparts, as it
23   calls for information concerning multiple topics and causes plaintiffs’ interrogatories to
24   exceed the maximum interrogatory limit set forth in the Federal Rules of Civil
25   Procedure; and (4) seeks to improperly shift the burden of proof and production, in that
26   plaintiffs have sued Defendants, claiming that the Defendants’ March 2021 search at
27   USPV violated the Fourth Amendment, and it is therefore Plaintiffs’ burden to show
28   how the search violated the Fourth Amendment, not Defendants burden to show the
                                                                        Exhibit C
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 1   lawfulness of the March 2021 activities. Defendants do not know the facts and legal
 2   arguments upon which plaintiffs rely in contending the March 2021 search violated the
 3   Fourth Amendment and therefore cannot legitimately provide a response to those facts
 4   and arguments.
 5         Subject to and without waiving these objections, Defendants contend that
 6   Defendants lawfully conducted an inventory of the boxes at U.S. Private Vaults.
 7   INTERROGATORY NO. 8:
 8         Identify all individuals who have information relevant to any argument that you
 9   intend to make to justify the March 2021 search of U.S. Private Vaults. For each
10   individual, state the nature of the information, as well as the individual’s name, title,
11   rank, and employing law enforcement agency.
12   RESPONSE TO INTERROGATORY NO. 8:
13         Defendant’s object to this interrogatory (1) calls for a narrative; (2) calls for a
14   legal conclusion; (3) is compound and contains impermissible discrete subparts, as it
15   calls for information concerning multiple topics and causes plaintiffs’ interrogatories to
16   exceed the maximum interrogatory limit set forth in the Federal Rules of Civil
17   Procedure; (4) is vague, ambiguous and unintelligible in its present form in its request to
18   identify persons who have information “relevant” to any argument Defendants “intend”
19   to make; (5) seeks to improperly shift the burden of proof and production, in that
20   plaintiffs have sued Defendants, claiming that the Defendants’ March 2021 search at
21   USPV violated the Fourth Amendment, and it is therefore Plaintiffs’ burden to show
22   how the search violated the Fourth Amendment, not Defendants burden to proof the
23   search was lawful. Defendants do not know the facts and legal arguments upon which
24   plaintiffs rely in contending the March 2021 search violated the Fourth Amendment and
25   therefore cannot legitimately provide a response to those facts and arguments; (6) seeks
26   information protected by the attorney-client privilege and the work product doctrine; and
27   (7) seeks information protected by the right of privacy and the Privacy Act, which will
28   ///
                                                                                Exhibit C
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 1   not be produced until such time as a mutually acceptable protective order is entered in
 2   this case.
 3   INTERROGATORY NO. 9:
 4         Identify all individuals who had property seized from the U.S. Private Vaults
 5   facility in March 2021, whose identity is known to the FBI, and whose property was
 6   subsequently returned. For each individual, state the individual’s name and U.S. Private
 7   Vaults box number.
 8   RESPONSE TO INTERROGATORY NO. 9:
 9         Defendants object that this interrogatory (1) seeks information protected by the
10   law enforcement evidentiary privilege or the investigatory file privilege; (2) is overly
11   broad; (4) is compound and contains impermissible discrete subparts, as it calls for
12   information concerning multiple topics and causes plaintiffs’ interrogatories to exceed
13   the maximum interrogatory limit set forth in the Federal Rules of Civil Procedure;
14   (4) seeks information neither relevant to the subject matter of this action nor reasonably
15   calculated to lead to the discovery of admissible evidence because, among other things, it
16   seeks information regarding individuals who are not included in the modified proposed
17   class; (5) is vague, ambiguous and unintelligible in its use of the words “whose identity
18   is known” to the FBI; and (6) seeks information protected by the right of privacy and the
19   Privacy Act, which will not be produced until such time as a mutually acceptable
20   protective order is entered in this case.
21   INTERROGATORY NO. 10:
22         Identify all law enforcement officials who searched the U.S. Private Vaults boxes
23   of the individuals listed in response to Interrogatory Number 9. For each law
24   enforcement official, state the official’s name, title, rank, and employing law
25   enforcement agency. In addition, for each law enforcement official, state the nature of
26   the individual’s involvement in the search.
27   ///
28   ///
                                                                              Exhibit C
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 1   RESPONSE TO INTERROGATORY NO. 10:
 2         Defendants have not identified any individuals in response to interrogatory
 3   number 9. Accordingly, Defendants object that this interrogatory (1) seeks information
 4   protected by the law enforcement evidentiary privilege or the investigatory file privilege;
 5   (2) is overly broad; (4) is compound and contains impermissible discrete subparts, as it
 6   calls for information concerning multiple topics and causes plaintiffs’ interrogatories to
 7   exceed the maximum interrogatory limit set forth in the Federal Rules of Civil
 8   Procedure; (4) seeks information neither relevant to the subject matter of this action nor
 9   reasonably calculated to lead to the discovery of admissible evidence because, among
10   other things, it seeks information regarding individuals who are not included in the
11   modified proposed class; (5) seeks discovery disproportionate to the needs of this case;
12   (6) seeks information protected by the right of privacy and the Privacy Act, which will
13   not be produced until such time as a mutually acceptable protective order is entered in
14   this case; and (7) seeks information in the possession of third parties, and not in the
15   possession of Defendants.
16   INTERROGATORY NO. 11:
17         Identify all law enforcement officials who bore supervisory responsibility for the
18   search of the U.S. Private Vaults boxes of the individuals listed in response to
19   Interrogatory Number 9. For each law enforcement official, state the official’s name,
20   title, rank, and employing law enforcement agency. In addition, for each law
21   enforcement official, state the nature of the individual’s supervisory responsibility for
22   the search.
23   RESPONSE TO INTERROGATORY NO. 11:
24         Defendants object that this interrogatory (1) seeks information protected by the
25   law enforcement evidentiary privilege or the investigatory file privilege; (2) is overly
26   broad; (3) is compound and contains impermissible discrete subparts, as it calls for
27   information concerning multiple topics and causes plaintiffs’ interrogatories to exceed
28   the maximum interrogatory limit set forth in the Federal Rules of Civil Procedure;
                                                                             Exhibit C
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 1   (4) seeks information neither relevant to the subject matter of this action nor reasonably
 2   calculated to lead to the discovery of admissible evidence because, among other things, it
 3   seeks information regarding individuals who are not included in the modified proposed
 4   class; (5) seeks information protected by the right of privacy and the Privacy Act, which
 5   will not be produced until such time as a mutually acceptable protective order is entered
 6   in this case; and (6) seeks information in the possession of third parties, and not in the
 7   possession of Defendants.
 8   INTERROGATORY NO. 12:
 9         Describe the procedures followed by the federal government to inventory the
10   contents of all of the safe deposit boxes held at U.S. Private Vaults at the time of the
11   March 2021 seizure, including the production of any video recording or other visual
12   record of the contents of the U.S. Private Vaults safe deposit boxes. Further describe
13   what types of video recordings or other visual records agents made of the contents of
14   documents contained within the U.S. Private Vaults safe deposit boxes.
15   RESPONSE TO INTERROGATORY NO. 12:
16         Defendants’ object that this interrogatory (1) calls for a narrative; (2) is compound
17   and contains impermissible discrete subparts, as it calls for information concerning
18   multiple topics and causes plaintiffs’ interrogatories to exceed the maximum
19   interrogatory limit set forth in the Federal Rules of Civil Procedure; (3) seeks
20   information protected by the right of privacy and the Privacy Act, which will not be
21   produced until such time as a mutually acceptable protective order is entered in this case;
22   and (4) seeks discovery disproportionate to the needs of this case.
23         Subject to and without waiving these objections, Defendants state that the
24   inventory was conducted in accordance with FBI inventorying policies. As to the types
25   of recordings, Defendants recorded some inventories on video and others on
26   photographs.
27   ///
28   ///
                                                                               Exhibit C
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 1   INTERROGATORY NO. 13:
 2         Identify all law enforcement officials depicted in the video recordings that you
 3   produce in response to Request for Production 9 of Plaintiffs’ Second Set of Requests for
 4   Document Production. For each official, state the time at which the official first appears
 5   in the video recording. In addition, for each official, state the official’s name, title, rank,
 6   and employing law enforcement agency.
 7   RESPONSE TO INTERROGATORY NO. 13:
 8         Defendants object that this interrogatory (1) seeks information protected by the
 9   law enforcement evidentiary privilege or the investigatory file privilege; (2) is overly
10   broad; (4) is compound and contains impermissible discrete subparts, as it calls for
11   information concerning multiple topics and causes plaintiffs’ interrogatories to exceed
12   the maximum interrogatory limit set forth in the Federal Rules of Civil Procedure;
13   (4) seeks information neither relevant to the subject matter of this action nor reasonably
14   calculated to lead to the discovery of admissible evidence because, among other things, it
15   seeks information regarding individuals who are not included in the modified proposed
16   class; (5) seeks information protected by the right of privacy and the Privacy Act, which
17   will not be produced until such time as a mutually acceptable protective order is entered
18   in this case; (6) seeks information in the possession of third parties, and not in the
19   possession of Defendants; (7) is unduly burdensome and oppressive, in that Plaintiffs
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                                                                                 Exhibit C
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 1   can identify themselves the time at which a particular person appears in a video; and
 2   (8) seeks discovery disproportionate to the needs of this case.
 3   Dated: January 7, 2022                        TRACY L. WILKISON
                                                   United States Attorney
 4                                                 SCOTT M. GARRINGER
                                                   Assistant United States Attorney
 5                                                 Chief, Criminal Division
 6                                                       /s/             ______________
                                                   ANDREW BROWN
 7                                                 VICTOR A. RODGERS
                                                   MAXWELL COLL
 8                                                 Assistant United States Attorneys
 9                                                 Attorneys for Defendants
                                                   UNITED STATES OF AMERICA, et al.
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 1                                       VERIFICATION
 2         I, Lynne Zellhart, hereby declare that:
 3         I am a Special Agent with the Federal Bureau of Investigation. I have read the
 4   above Defendants United States of America et. al. 's responses to plaintiffs' second set of

 5   interrogatories. As to the answers, I am informed and believe that the answers are true.

 6         I declare under penalty of perjury under the laws of the United States that the
     foregoing is true and correct.
 7

 8
           Executed on January    _h_, 2022 at Los Angeles, California.
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 1                            PROOF OF SERVICE BY MAILING
 2          I am over the age of 18 and not a party to the within action. I am employed by the
 3    Office of the United States Attorney, Central District of California. My business address
 4    is 312 North Spring Street, 14th Floor, Los Angeles, California 90012.
 5          On January 7, 2022, I served a copy of: DEFENDANTS UNITED STATES OF
 6    AMERICA, ET AL.’S RESPONSES TO PLAINTIFFS’ SECOND SET OF
 7    INTERROGATORIES on each person or entity named below by enclosing a copy in
 8    an envelope addressed as shown below and placing the envelope for collection and
 9    mailing on the date and at the place shown below following our ordinary office practices.
10    TO:
11     THE INSTITUTE FOR JUSTICE                    THE INSTITUTE FOR JUSTICE
       Robert Frommer                               Robert E. Johnson
12     Joseph R. Gay                                16781 Chagrin Blvd, Suite 256
       901 N. Glebe Road, Suite 900                 Shaker Heights, OH 44120
13     Arlington, VA 22203
14     THE VORA LAW FIRM, P.C.
       Nilay U. Vora
15     Jeffrey Atteberry
       201 Santa Monica Blvd., Ste. 300
16     Santa Monica, CA 90401
17    X I am readily familiar with the practice of this office for collection and processing
18    correspondence for mailing. On the same day that correspondence is placed for
19    collection and mailing, it is deposited in the ordinary course of business with the United
20    States Postal Service in a sealed envelope with postage fully prepaid.
21          I declare under penalty of perjury under the laws of the United States of America
22    that I am employed in the office of a member of the bar of this Court, at whose direction
23    the service was made, and that the foregoing is true and correct.
24          Executed on January 7, 2022, at Los Angeles, California.
25                                                  /s/ Paul J. Read
                                                    PAUL J. READ
26                                                  Paralegal, FSA
27
28
                                                                               Exhibit C
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